RUDY GRBL:3R:- (SENDZG47HP-SK Document 5, Filed 06/19/18 Page 1 of 3 Page ID #:18
GABA LAW CORPORATION

23141 VERDUGO DRIVE, SUITE 205

LAGUNA HILLS, CA 92653

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CASE NUMBER:
FEDERAL DEPOSIT INSURANCE CORPORATION, _ 24 7_NIC. 7
as receiver for IRWIN UNION BANK, F.S.B., a federal CV- 8:17-MC-00028-UA
savings bank Plaintiff(s)
Vv,
JAY DABBA and NISHA DABBA, husband and wife WRIT OF EXECUTION
Defendant(s)

 

 

TO: THE UNITED STATES MARSHAL FOR THE CENTRAL DISTRICT OF CALIFORNIA

You are directed to enforce the Judgment described below with interest and costs as provided by law.

On July 31, 2013 a judgment was entered in the above-entitled action in favor of:

FEDERAL DEPOSIT INSURANCE CORPORATION, as receiver for IRWIN UNION BANK,
F.S.B., a federal savings bank

 

as Judgment Creditor and against:
JAY DABBA and NISHA DABBA, husband and wife

as Judgment Debtor, for:

$ 424,505.57 Principal,

$ Attorney Fees,

$ 55,244.97 Interest **, and

$ 3,146.84 Costs, making a total amount of
$ 482,897.38 JUDGMENT AS ENTERED

**NOTE: JUDGMENTS REGISTERED UNDER 28 U.S.C. §1963 BEAR THE RATE OF INTEREST OF THE
DISTRICT OF ORIGIN AND CALCULATED AS OF THE DATE OF ENTRY IN THAT DISTRICT.

 

WRIT OF EXECUTION
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WHEREAS, according to an affidavit and/or memorandum of costs after judgment it appears that further sums
have accrued since the entry of judgment in the CENTRAL District of CALIFORNIA
to wit:

>

 

_____——_—«236 023.20 accrued interest, and
$ «0.00 accrued costs, making a total of
236,023.20 ACCRUED COSTS AND ACCRUED INTEREST

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Credit must be given for payments and partial satisfaction in the amount of $0.00 which is
to be credited against the total accrued costs and accrued interest, with any excess credited against the judgment
as entered, leaving a net balance of:

$ 718,920.58 ACTUALLY DUE on the date of the issuance of this writ of which
$ 482,897.38 Is due on the judgment as entered and bears interest at 10
percent per annum, in the amount of $ 132.30 per day,

from the date of issuance of this writ, to which must be added the
commissions and costs of the officer executing this writ.

CLERK, UNITED STATES DISTRICT COURT

Dated: By:

 

 

Deputy Clerk

 

WRIT OF EXECUTION
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The following are name(s) and address(es) of the judgment debtor(s) to whom a copy of the Writ of Execution
must be mailed unless it was served at the time of the levy. This information must be filled in by counsel
requesting this writ.

| JAY DABBA, husband | TNISHA DABBA, wife |

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NOTICE TO THE JUDGMENT DEBTOR

You may be entitled to file a claim exempting your property from execution. You may seek the advice of an
attorney or may, within ten (10) days after the date the notice of levy was served, deliver a claim of exemption
to the levying officer as provided in Sections 703.510 - 703.610 of the California Code of Civil Procedure.

 

WRIT OF EXECUTION
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